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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION


  RICHARD H. BARNES, JR.,                   )       Case No. 9:21-cv-80722-RKA
                                            )
                      Plaintiff,            )       Judge Roy K. Altman
                                            )
        v.                                  )
                                            )
                                            )
  LAMAR JACKSON, et al.                     )
                                            )
                     Defendants.            )

       OPPOSITION TO MOTION TO DISMISS THIRD AMENDED COMPLAINT
        Plaintiff, by and through the undersigned counsel, hereby opposes Defendants’ Motion to
  Dismiss Third Amended Complaint (D.E. 91).




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                                      MEMORANDUM OF LAW
  I. LEGAL STANDARD
          Under Federal Rule of Civil Procedure 8(a)(2), Plaintiff need only provide a short and plain
  statement of the claim showing that he is entitled to relief. See Simpson v. Sanderson Farms, Inc. 744
  F.3d 702, 708 (11th Cir. 2014). While Plaintiff’s complaint need not contain detailed factual
  allegations, he “must demonstrate ‘more than labels and conclusions, and a formulaic recitation of the
  elements of a cause of action will not do.’” Simpson, 744 F.3d at 708 (quoting Bell Atlantic v. Twombly,
  550 U.S. 544, 545 (2007)). The complaint “must contain sufficient factual matter, accepted as true, to
  ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678
  (2009) (quoting Twombly, 550 U.S. at 570). The standard is met where the facts alleged enable “the
  court to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.
          In evaluating a motion to dismiss under Rule 12(b)(6), a court does not make factual
  determinations. Hawthorne v. Mac Adjustment, Inc., 140 F.3d 1367, 1370 (11th Cir. 1998). Rather, the
  court is confined to a review of the pleadings, must accept the well-pleaded facts as true, and must
  resolve any factual issues in a manner favorable to the non-moving party. See Quinones v. Durkis, 638
  F.Supp. 856, 858 (S.D. Fla. 1986); see also Katz v. Chevaldina, 900 F.Supp.2d 1314, 1315 (S.D. Fla.
  2012) (“The court generally is limited in its review to the ‘four corners of the complaint’.”) (quoting
  Speaker v. U.S. Dep’t of Health & Human Servs., 623 F.3d 1371, 1379 (11th Cir. 2010). A Rule
  12(b)(6) motion can only be granted if it is clear that no relief could be granted under any set of facts
  that could be proved consistent with the allegations. See Hishon v. King & Spalding, 467 U.S. 69, 72
  (1984); Conley v. Gibson, 355 U.S. 41, 45-46 (1957).
          Federal Rule of Civil Procedure 12(d) states that if in a motion under Rule 12(b)(6), matters
  outside the pleadings are presented to and not excluded by the court, the motion must be treated as one
  for summary judgment under Rule 56, and all parties must be given a reasonable opportunity to present
  all the material that is pertinent to the motion. If the court relies on extrinsic evidence, the motion is
  converted into a Rule 56 summary judgment motion, for which there is a significantly different
  standard. See Morrison v. Amway Corp., 323 F.3d 920, 924 (11th Cir. 2003); Garcia v. Copenhaver,
  Bell & Assocs., M.D.’s, P.A., 104 F.3d 1256, n. 11 (11th Cir. 1997).
          With respect to Rule 12(b)(7), “courts are loath to grant motions to dismiss of this type.”
  Microsoft Corp. v. Cietdirect.com LLC, 2008 WL 3162535, *5 (S.D. Fla. 2008) (quoting Sever v.
  Glickman, 298 F.Supp.2d 267, 275 (D.Conn. 2004)). District courts addressing a motion to dismiss


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  under Rule 12(b)(7) and Rule 19 undergo a two-step inquiry. First, the court determines whether the
  absent party is a “required party” within the meaning of Rule 19. See Auto-Owners Ins. Co. v. Morris,
  191 F.Supp.3d 1302, 1303 (N.D. Ala 2016) (citing Molinos Valle del Cibao v. Lama, 633 F.3d 1330,
  1344 (11th Cir. 2011)). If so, and the absent party can be joined, the court must order that it be made a
  party. Id. (citing Fed. R. Civ. P. 19(a)(2) (quotations omitted). Next, if the required absent party cannot
  be joined, the court must consider if, “in equity and good conscience, the action should proceed among
  the existing parties or should be dismissed.” Id. To make this decision, the court considers the factors
  listed in Rule 19(b). Id. The court may look not only at the pleadings but also at evidence presented by
  the parties. See Auto-Owners Insurance Co., 191 F.Supp.3d at 1303 (citing Estes v. Shell Oil Co., 234
  F.2d 847, 849 n.5 (5th Cir. 1956)). The moving party bears the initial burden of showing that the person
  who was not joined is necessary for a just adjudication, and can satisfy its burden by providing relevant
  extra-pleading evidence. See Weeks v. Housing Auth. of City of Opp, Ala., 292 F.R.D. 689, 692 (M.D.
  Ala 2013). While extrinsic evidence may be considered, a Rule (12)(b)(7) motion requires the Court
  to accept the allegations of the complaint as true. Microsoft Corp., 2008 WL 3162535 at *5.
  II. ARGUMENT
  1. Defendants’ 12(b)(7) Motion
          Defendants’ 12(b)(7) motion is meritless at least because Defendants have not met their burden
  of establishing that Imagn Content Services, LLC (“Imagn”) is necessary for a just adjudication of
  Plaintiff’s claims. Secondly, even if Imagn is somehow considered a necessary party, Imagn can easily
  be joined as a party. Accordingly, dismissal under Rule 12(b)(7) is improper.
          To satisfy their burden, Defendants have offered only an unsupported definition of “necessary
  party,” allegations of a vague “vested interest” of Imagn in the outcome of this litigation, an
  unsupported allegation that complete relief cannot be granted in Imagn’s absence, and a legally
  unjustified fear of future actions by Imagn. None is sufficient to require Imagn as a necessary party.
          Defendants summarily argue that, “[a]lmost by definition, given its commercial and property
  rights in the Barnes Photographs, and vested interest in the outcome of this matter, [Imagn] is a
  necessary party under Rule 19.” (D.E. 91 at 9). Defendants cite Borchers v. Amazon.com, Inc., 2019
  WL 5196117 (S.D. Fla. 2019), presumably for their asserted “definition” of a necessary party under
  Rule 19. Borchers provides no such definition, and Plaintiff is unaware of any case that does.
          Defendants also argue that Imagn is a necessary party “based upon its vested interest….” (D.E.



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  91 at 5). Defendants point to section 7 of the 2012 Active Photographer Agreement (“2012 APA”)1,
  asserting that it (a) provides Imagn with the full and complete authority to make claims or institute
  proceedings to prosecute unauthorized use of the Barnes Photographs, and (b) requires that all
  settlements be made in the sole and absolute discretion of Imagn. Id. For several reasons, section 7 of
  the 2012 APA does not establish Imagn as a required party within the meaning of Rule 19.
          Initially, Defendants have selectively eliminated the word “customer” from their reading of
  section 7 of the 2012 APA, effectively misrepresenting its scope. The first sentence of section 7
  explicitly states that it relates to “unauthorized use of any Images by any customer.” (D.E. 91-3 at 5,
  ¶7; emphasis added). Section 7 later refers to “such actions,” making it clear that any actions under this
  paragraph relate to those brought against customers of Imagn. None of the Defendants are customers
  of Imagn, and Defendants do not argue otherwise. Accordingly, section 7 simply does not apply to the
  infringements alleged in this lawsuit and cannot operate to make Imagn a necessary party.
          Even if section 7 is read to apply to infringements by non-customers of Imagn, such as those
  alleged in this lawsuit, any ability it provides Imagn to bring actions for unauthorized uses of the Barnes
  Photographs does not make Imagn a necessary party to this action at least because Plaintiff can bring
  infringement actions, on his own, as the legal owner of the copyrights to the Barnes Photographs.
  Assuming arguendo that the 2012 APA controls the relationship between Plaintiff and Imagn, section
  1 of the agreement explicitly states that “Photographer shall retain the copyright to the Images.” (D.E.
  91-3 at 2, ¶1.) The Copyright Act allows a legal or beneficial owner of an exclusive right under a
  copyright to institute an action for infringement. (17 U.S.C. §501(b)). Plaintiff’s ability to bring suit as
  the legal owner necessarily prevents Imagn from having the “full and complete authority” to do so.
  The 2012 APA recognizes this, requiring Imagn to make any claim for copyright infringement “in
  Photographer’s name,” i.e., in the name of Plaintiff. (D.E. 91-3 at 5, ¶7.) The copyright registrations
  for the Barnes Photographs reflect Plaintiff’s ownership status (D.E. 85-12 at 15-16; D.E. 85-13 at 2)
  and Defendants “concede that Plaintiff owns copyrights to the Barnes Photographs.” (D.E. 91 at 11.)
          The language in section 7 relating to Imagn having discretion over settlements is also
  insufficient to make Imagn a necessary party, even if section 7 is read to apply to non-customers of
  Imagn. Defendants have, again, omitted key language to present that portion of the 2012 APA out of


  1
   Plaintiff does not admit that the 2012 APA is the controlling agreement between Plaintiff and
  Imagn with respect to the facts of this case. Mr. Odle testified at his deposition that he did not
  know whether the 2012 APA, or a later agreement, applies here. (D.E. 97 at 37-38.)
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  context and to mischaracterize its scope. Section 7 explains that, if Imagn “chooses not to pursue any
  legal action, Photographer reserves the right to do so after notification from” Imagn. In this case, Imagn
  granted Plaintiff written permission to proceed with this lawsuit after Imagn chose not to pursue the
  matter, prior to this lawsuit being filed. Plaintiff submits herewith as Exhibit 1 the entire 2021 email
  chain between Plaintiff’s counsel and Bruce Odle, President of Imagn, only a small portion of which
  Defendants selectively included with the Motion to Dismiss (“MTD”). Most notably, on April 6, 2021,
  before the filing of this lawsuit, Mr. Odle wrote the following to Plaintiff’s counsel:
              I’ve consulted with our legal counsel and we do not intend to pursue this case
              directly and, therefore, grant you written permission by way of this e-mail to
              pursue this matter against Lamar Jackson on behalf of Rich Barnes.

  (Ex. 1 at 10.) To any extent that Imagn had an ability to bring or to be a required participant in this
  action, Mr. Odle’s email effectively extinguished it. Furthermore, any right or interest Imagn derives
  from the language of section 7 is contractual in nature and unrelated to the enumerated exclusive rights
  statutorily vested in a copyright owner. Consequently, Imagn’s remedy for violation of any such right
  or interest would be pursuit of a contract claim against Plaintiff, not a copyright claim against
  Defendants. Lastly, any discretion granted to Imagn under section 7 relates only to “settlements,”
  which, by definition, are inter partes alternatives to adjudication by the Court. (D.E. 91-3 at 5.)
          Defendants assert, without support or even further explanation, that Imagn is a necessary party
  because “complete relief cannot be accorded in its absence.” (D.E. 91 at 9.) As detailed above, Plaintiff
  is the legal owner of the copyrights in the Barnes Photographs and Imagn has relinquished any right it
  had to bring an action against Defendants. The Court can accord Plaintiff complete relief for the alleged
  infringements without Imagn’s involvement as a party.
          Defendants also argue that they “could face another lawsuit by [Imagn] and thus a potential
  inconsistent obligation within the meaning of Rule 12(a)(2)(ii)” if Defendants were to prevail in this
  case. This feigned fear is pure fiction, though, because (1) as detailed above, Imagn has relinquished
  whatever right it had under the 2012 APA to sue Defendants; (2) Imagn is not a legal or beneficial
  owner of the enumerated right to prepare derivative works based upon the Barnes Photographs; and
  (3) Imagn is not a legal or beneficial owner of any enumerated right under Plaintiff’s copyrights in the
  Barnes Photographs because the 2012 APA is not an exclusive license.
          A copyright license or assignment may transfer less than all of the exclusive rights of a
  copyright owner. The Copyright Act, accordingly, grants the right to sue on the basis of individual


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  rights. 17 U.S.C. § 501(b); See Roberts v. Gordy, 359 F.Supp.3d 1231, 1240-1241 (S.D. Fla. 2019).
  The Third Amended Complaint (“TAC”) alleges that Defendants created derivative works of the
  Barnes Photographs. (D.E. 85 at ¶¶ 38, 77, 99, 118, 120, 133, 141, 150, 157.) Plaintiff never granted
  to Imagn the right under 17 U.S.C. § 106(2) to prepare derivative works based on the Barnes
  Photographs. The 2012 APA reflects this, making no mention of derivative works in the “Grant of
  Authority.” (D.E. 91-3 at 2, ¶1.) Therefore, Plaintiff remains the sole legal and beneficial owner of the
  enumerated exclusive right to create derivative works and Imagn has no ability to sue Defendants, or
  any party, for alleged violation of this right. See Roberts, 359 F.Supp.3d at 1240-1241.
          To any extent that Plaintiff granted Imagn exclusive rights through the 2012 APA other than
  the right to create derivative works of the Barnes Photographs, or to the extent such other exclusive
  rights are at issue in this case, Plaintiff’s right to receive royalties, established in section 6b of the 2012
  APA, makes Plaintiff the beneficial owner of these other enumerated rights. See Smith v. Casey, 741
  F.3d 1236, 1242 (11th Cir. 2014). Therefore, Plaintiff has the legal ability to bring this lawsuit alone
  under 17 U.S.C. § 501(b), and Imagn has no ability to bring its own lawsuit in light of Plaintiff’s action.
  Furthermore, there is no basis for arguing that Imagn is somehow a beneficial owner of any enumerated
  right under Plaintiff’s copyrights because the Eleventh Circuit has only ever found “beneficial
  ownership” where an author parts with legal title to the copyright in exchange for royalties. See
  Roberts, 359 F.Supp.3d at 1247 (citing Smith v. Casey, 741 F.3d 1236, 1242 (11th Cir. 2014)).
          Furthermore, Imagn has no ability to bring an action as the legal owner or the beneficial owner
  of any exclusive right under the copyrights in the Barnes Photographs by virtue of the 2012 APA
  because the agreement is not an exclusive license despite use of the term “exclusive” in the grant of
  authority. The 2012 APA provides that the photographer “shall have a limited right to license the
  images” to certain parties under certain circumstances. (D.E. 91-3 at 2, ¶1.) By definition, a license
  agreement that permits the licensor to grant a license to other parties is not an exclusive license.
  Accordingly, the 2012 APA did not empower Imagn to sue for infringement beyond the express terms
  of the agreement. See Saregama India Ltd. v. Mosley, 635 F.3d 1284, 1290 (11th Cir. 2011) (“only the
  legal or beneficial owner of an ‘exclusive right’ has standing to bring a copyright infringement action”).
          Additionally, Defendants are incorrect in their argument that any verdict in this matter will not
  include or bind Imagn under the principles of res judicata or collateral estoppel. Collateral estoppel
  could apply to prevent a re-litigation of the questions of whether Defendants infringed Plaintiff’s
  copyrights once said questions are decided in this lawsuit, regardless of the identity of the plaintiff in


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  a future suit. See, e.g., Deweese v. Town of Palm Beach, 688 F.2d 731, 733 (11th Cir. 1982)
  (enumerating the prerequisites of collateral estoppel, none of which include identity of a party).
          Lastly, Defendants’ argument regarding lack of personal jurisdiction over Imagn is
  nonsensical. This Court does, in fact, have personal jurisdiction over Imagn. The MTD acknowledges
  that Imagn is a Florida Limited Liability Corporation, and even includes as an exhibit Imagn’s Florida
  Limited Liability Company Annual Report. (D.E. 91 at 10; D.E. 91-1.) For a corporation, the
  “paradigm” forums for the exercise of personal jurisdiction are its place of incorporation and principal
  place of business. See Daimler AG v. Bauman, 571 U.S. 117, 137 (2014). Thus, general jurisdiction
  over Imagn exists in Florida. Furthermore, the Florida Long-Arm Statute provides that “[o]perating,
  conducting, engaging in, or carrying on a business or business venture in this state or having an office
  or agency in this state” is an act subjecting a person to jurisdiction in courts of the state. Fla. Stat. §
  48.193(1)(a)(1). As a Florida LLC with a Florida registered agent, Imagn operates in Florida and has
  agency in Florida. (D.E. 91-1.) Accordingly, if the Court determines that Imagn is a necessary party,
  Imagn can easily be joined as a party, making dismissal under Rule 19(b) inappropriate.
          As part of the jurisdiction argument, Defendants assert that “Defendants are also citizens of
  Florida” (D.E. 91 at 10), as if this were relevant to whether the Court would have personal jurisdiction
  over Imagn.2 Defendants appear to conflate personal jurisdiction with subject matter jurisdiction, and
  appear to imply that this case relies on diversity jurisdiction, which it does not.
          Analyzing the factors enumerated in Rule 19(b) in view of the above, a judgment rendered in
  Imagn’s absence would not prejudice Imagn or the existing parties because Imagn has no right to sue
  for the creation of derivative works of the Barnes Photographs, and Imagn has granted Plaintiff written
  permission to file this lawsuit, thereby granting back to Plaintiff whatever rights to sue that the 2012
  APA conveyed to Imagn. For the same reasons, a judgment rendered in Imagn’s absence would be
  adequate. Furthermore, Plaintiff would not have an adequate remedy if the action were dismissed for
  nonjoinder of Imagn. Through the 2012 APA, Plaintiff negotiated an arrangement in which Plaintiff
  retained the right to enforce his copyrights at the very least when Imagn granted him permission to do
  so, as was done in this case. Plaintiff would be left with no remedy for the infringements of his
  copyrights by Defendants and would lose the benefit of his bargain in the 2012 APA if this action were
  dismissed for the nonjoinder of Imagn.


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   It is also noted that at least one defendant, Lamar Jackson, is alleged in the TAC to be a resident
  of Maryland, not Florida. See D.E. 85 at ¶6.
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          In sum, Defendants fail to establish that Imagn is a necessary party. Even if the Court does
  determine that Imagn is a necessary party, Imagn could easily be joined as a party. Therefore, dismissal
  under Rule 12(b)(7) is inappropriate, and Defendants’ motion should be denied.
  2. Defendants’ 12(b)(6) Motion
          Defendants use their 12(b)(6) motion to assert various substantive defenses, disregarding the
  standard under Rule 12(b)(6) by arguing about facts not alleged in the TAC. The Court must limit its
  analysis of the 12(b)(6) motion to only the facts alleged in the TAC and reject these arguments, or treat
  the MTD as a motion for summary judgment and apply the appropriate standard.3 All of the following
  alleged facts argued in the MTD are beyond the scope of the TAC, have no support in the TAC, and,
  in some cases, are contrary to facts alleged in the TAC: (1) that the claimed offending items “were
  developed from the noncopyrighted Louisville Instagram Posts and the ACC Video,”4 and the
  existence of these things (D.E. 91 at 11); (2) that a Google search of “Lamar Jackson leap” confirms
  the origin of the claimed infringing items (D.E. 91 at 11); (3) that the Stacks promotional video plainly
  demonstrates Defendant Dupont’s reliance upon certain “non-copyrighted items” (D.E. 91 at 11); (4)
  that Jackson and Dupont “believed that noone [sic] was claiming a protectable copyright interest in the
  leap photograph . . . and that they had an implied license, just as the Louisville and ACC did, to use
  the photograph” (D.E. 91 at 11-12); (5) the existence of a license or an implied license by the University
  of Louisville or the ACC (D.E. 91 at 12); (6) that the 2016 social media posts by Jackson of some of
  the Barnes Photographs were made at a time he was still a student-athlete and “prohibited from
  receiving any income during that time” (D.E. 91 at 15); (7) that Defendants “made little money from”
  use of the Leap Logo (D.E. 91 at 19); (8) that Defendants “no longer use” the Leap Logo and “have
  not used it since receiving” the first cease and desist letter (D.E. 91 at 19); and (9) that because the
  Barnes Photographs “would be linked to the NFL Superstar” through Defendants’ use of the Barnes
  Photographs, their exposure and value would increase (D.E. 91 at 18). All of these factual allegations
  in the MTD must be disregarded by the Court in ruling on the 12(b)(6) motion unless the 12(b)(6)
  motion is treated as a summary judgment motion and the appropriate standard is applied.

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    If the Court treats the MTD as a motion for summary judgment, it must be denied because material
  facts are in dispute and Defendants are wrong on the law. For example, Defendants contend that
  copying of the Barnes Photographs did not take place. (D.E. 91 at 11.) This is a material fact, because
  copying is an element of a copyright infringement claim, and it is contrary to the allegation of the TAC.
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    The Louisville Instagram Posts and the ACC Video, in fact, include copies of the Second
  Hurdle Photograph. Therefore, this argument by Defendants is actually an admission that the
  claimed offending items “were developed from” the Second Hurdle Photograph.
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          Furthermore, the MTD consistently refers to “the Leapmode Logo and the Chain” (i.e., the
  Leap Logo and the Stacks Jewelry, respectively), and does not make any arguments concerning the
  Forever Logo or the Forever Silhouette Logo, both of which the TAC alleges constitute infringing
  derivative works of the Second Hurdle Photograph. The Court should keep in mind that Defendants
  have raised no arguments concerning the TAC’s allegations with respect to these two derivative works.
          A. Copyright Claims
          Defendants dispute that the Barnes Photographs were copied and that the claimed offending
  items are substantially similar to the Barnes Photographs. However, the question of substantial
  similarity in a copyright infringement case is a question of fact for a jury, not a question to be resolved
  through a 12(b)(6) motion. See Leigh v. Warner Bros., Inc., 212 F.3d 1210, 1213 (11th Cir. 2000)
  (“Copyright infringement is generally a question of fact for the jury to decide”); see also Latimer v.
  Roaring Toyz, Inc., 601 F.3d 1224, 1232 (11th Cir. 2010) (“substantial similarity is an extremely close
  question of fact”). The TAC sufficiently alleges substantial similarity, for example, by showing the
  Barnes Photographs, the Leap Logo, the Forever Logo, the Forever Silhouette Logo, Jackson’s social
  media posts, and the Stacks Jewelry in TAC Exhibits 14-20, 22, 37, 45, and 46, respectively.
          The term “substantial similarity” has been used to describe both the degree of similarity
  relevant to proof of copying and the degree of similarity necessary to establish unlawful appropriation.
  See Rentmeester v. Nike, Inc., 883 F.3d 1111, 1117 (9th Cir. 2018). The pertinent element of a copyright
  infringement claim is copying protectable aspects of the work, not the new work being substantially
  similar to the copyrighted work. See, e.g., Herzog v. Castle Rock Entm’t, 193 F.3d 1241, 1248 (11th
  Cir. 1999). Copyright law recognizes that direct evidence of copying is rare and allows a plaintiff to
  prove the required copying indirectly by establishing that the defendant had access to the copyrighted
  work and produced something “substantially similar” to it. See Leigh, 212 F.3d at 1214. The
  similarities between the two works need not be extensive, and they need not involve protected elements
  of the work; they need only be similarities one would not expect to arise if the two works had been
  created independently. See Rentmeester, 883 F.3d at 1117 (citing Laureyssens v. Idea Grp., Inc., 964
  F.2d 131, 140 (2nd Cir. 1992)). “Substantial similarity” is important in a second way, too – no matter
  how copying is proved, a plaintiff must establish that the allegedly infringing work is substantially
  similar to the plaintiff’s work with regard to its protected elements. Id.
          With respect to copying, Plaintiff has alleged copying of the Barnes Photographs in the TAC.
  (D.E. 85 at ¶¶ 126, 137, 182, 184-186, 188-190.) For the Stacks Jewelry in particular, the TAC provides


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   evidence of direct copying of the Second Hurdle Photograph in Exhibit 38, which is a photograph
   showing a cutout of Plaintiff’s Second Hurdle Photograph on a workbench while the Stacks Jewelry
   was being created. Even if this evidence of direct copying were disregarded, the TAC sufficiently
   alleges that each of the Defendants had access to each of the Barnes Photographs at issue and made,
   or had made, unauthorized derivative works. For example, as detailed in the TAC, Plaintiff made all
   of the Barnes Photographs available for licensing through a news outlet, and posted each of the Barnes
   Photographs to a news outlet searchable archive. (D.E. 85 at ¶¶98, 110-115.) Thus, Plaintiff has
   sufficiently alleged that each of the Defendants had access to each of the Barnes Photographs, and the
   TAC sufficiently alleges copying of the Barnes Photographs by Defendants.
           With respect to the infringing items being substantially similar to the protected elements of the
   Barnes Photographs, this is a finding of fact not appropriate for dismissal at the pleading stage. See
   Leigh, 212 F.3d at 1216. However, even if the Court were to analyze this, a simple, visual comparison
   of the Barnes Photographs (D.E. 85-8) to each of the Leap Logo (D.E. 85-22), the Forever Logo (D.E.
   85-45), the Forever Silhouette Logo (D.E. 85-46), and the Stacks Jewelry (D.E. 85-37), as Defendants
   seemingly argue the Court should perform,5 reveals that each of the infringing logos and the Stacks
   Jewelry is substantially similar to the Second Hurdle Photograph with regard to its protected elements.
           The protected elements of a copyrighted work are those which have originality. See Leigh, 212
   F.3d at 1214 (“copyright law protects only original expression”). Originality, which is a statutory and
   constitution requirement for copyrightability, “is not particularly stringent,” requiring only that the
   author make the selection or arrangement independently (i.e., without copying that selection or
   arrangement from another work) and that the work display some minimal level of creativity. Feist
   Publ’ns, Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S. 340, 347, 358 (1991). “Federal courts have
   historically applied a generous standard of originality in evaluating photographic works for copyright
   protection.” Latimer, 601 F.3d at 1235 (quoting Schrock v. Learning Curve Int’l, Inc., 586 F.3d 513,
   519 (7th Cir. 2009)). Most photographs contain at least some originality in their rendition of the subject
   matter, and these elements of originality in a photograph, which are protectable elements, “may include
   posing the subjects, lighting, angle, selection of film and camera, evoking the desired expression, and
   almost any other variant involved,” including shading, timing, depth of field, and selection of
   foreground and background elements. See id. (quoting Rogers v. Koons, 960 F.2d 301, 307 (2nd Cir.


   5
    Defendants seemingly argue this at least with respect to the Leap Logo and the Stacks Jewelry,
   since the MTD is silent on the Forever Logo and the Forever Silhouette Logo.
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   1992)); see also Leigh, 212 F.3d at 1215; see also Rentmeester, 883 F.3d at 1122.
          Defendants “do not dispute that Plaintiff’s work is creative.” (D.E. 91 at 17.) Plaintiff made
   multiple artistic and technical decisions in the creation of the Barnes Photographs, including selecting
   a position and angle from which to photograph the plays, selecting a camera body, lens, and focal
   length, as well as aperture and shutter speed settings to provide a creative depth of field and overall
   artistic impression. These decisions enabled Plaintiff to, for example, capture an image of the “famous
   Jackson leap” from a unique angle that caused, as one non-limiting example, Jackson’s fingers on his
   right hand to be observable in a certain position extending downward from his body. (D.E. 85-8.)
   Notably, the copies embodied in each of the Leap Logo, the Forever Logo, the Forever Silhouette
   Logo, and the Stacks Jewelry include these extending fingers (see D.E. 85-22, D.E. 85-45, D.E. 85-46,
   D.E. 85-37), reflecting that these derivative works were copied from Plaintiff’s Second Hurdle
   Photograph and not from some abstract concept of Jackson’s leap. This feature is only observable in
   the Second Hurdle Photograph because of the creative decisions Plaintiff made when creating his
   photograph, including the specific position, angle, and point of focus. As the ordinary observer could
   see from the Second Hurdle Photograph (D.E. 85-8), if the camera had been a little lower or the depth
   of field had been a little shallower, the extending fingers on Jackson’s right hand would not be visible
   extending below his body. Thus, this is a creative choice made by Plaintiff in creating the Second
   Hurdle Photograph and is a protected element in it. Defendants clearly appreciated the originality
   provided by Plaintiff’s creative choices when they created these unauthorized copies of Plaintiff’s
   Second Hurdle Photograph because this feature is included in them.6
          Furthermore, the spikes on Jackson’s left cleat extending away from Jackson’s left foot are
   only observable in the Second Hurdle Photograph because of the specific position and angle at which
   Plaintiff created the Second Hurdle Photograph. However, the Leap Logo, the Forever Logo, and the
   Forever Silhouette Logo copied these spikes as well. (D.E. 85-22, 85-45, 85-46.) As another example,
   the position and angle from which the Second Hurdle Photograph was created also make observable
   certain padding sticking out on the right side of Jackson’s back just under where Jackson’s right sleeve
   ends. (D.E. 85-8.) As the ordinary observer would recognize, if Plaintiff had taken the Second Hurdle
   Photograph from just a little to the right of where he was positioned, this padding would not be visible

   6
    Plaintiff notes that the Exhibit E of the MTD includes a blurred and non-marbled version of the
   Leap Logo, not the actual Leap Logo that was the subject of the Leap Trademark Application
   and applied to merchandise. The Court should refer to D.E. 85-22 instead of D.E. 91-5 to see the
   Leap Logo.
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   in the Second Hurdle Photograph. Sure enough, the Leap Logo, the Forever Logo, the Forever
   Silhouette Logo, and the Stacks Jewelry each include this feature as well. (D.E. 85-22, 85-45, 85-46,
   85-37.) With respect to the Stacks Jewelry, it is apparent that this unusual padding was added to the
   back side of the figure, given its three-dimensional nature, as best seen on page 4 of Exhibit 37 to the
   TAC, where one can see a bulge in the back right where the padding is seen in the Second Hurdle
   Photograph. These are merely some non-limiting examples of the protected elements of the Second
   Hurdle Photograph which were copied in making the infringing logos and the Stacks Jewelry.
   Defendants’ significant efforts to include minute details from the Barnes Photographs belie
   Defendants’ argument that the photographs lack originality.
          Moreover, courts have affirmed that spontaneous photography of newsworthy persons or
   events is sufficiently original to warrant copyright protection. See, e.g., Harney v. Sony Pictures
   Television, Inc., 704 F.3d 173, 185 (2nd Cir. 2013) (“assuring copyright protection for fleeting images
   of newsworthy persons or events encourages freelance photographers to continue creating new images,
   advancing the goal of the Constitution’s copyright clause”). Thus, to the extent Defendants’ argument
   about originality is distinct from Defendants’ argument concerning substantial similarity to protected
   elements, it is meritless. The infringing items include, and are substantially similar to, numerous
   protected elements from the Barnes Photographs.
          Defendants argue that the generalization of an athlete leaping over a defender is not original or
   creative, is a scènes à faire, and a common expression and idea not entitled to copyright protection.
   Scènes à faire are stock or standard features that naturally flow from a common theme, and are among
   unprotectable elements of a copyrighted work. See Beal v. Paramount Pictures Corp., 20 F.3d 454,
   459 (11th Cir. 1994) (citing Walker v. Time Life Films, Inc., 784 F.2d 44, 50 (2nd Cir. 1986)). However,
   as discussed above, there are numerous protectable elements, not merely stock or standard features
   commonly associated with a leaping athlete, which were copied from Plaintiff’s works by Defendants
   to create the infringing logos and the Stacks Jewelry. Each of the infringing logos and the Stacks
   Jewelry includes elements that are only observable in the Second Hurdle Photograph because of the
   angle, position, point of focus, and depth of field at which the Second Hurdle Photograph was taken.
   The Leap Logo, Forever Silhouette Logo, and Forever Logo each just so happens to portray the leaping
   player from the same exact angle at which the Second Hurdle Photograph was taken. This is not a
   coincidence. Defendants have not merely created logos or jewelry of a generic leaping football player.
   Rather, Defendants have made logos and jewelry of a leaping football player that include minute details


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   taken directly from the Second Hurdle Photograph, forcing the conclusion that substantial protected
   elements of the Second Hurdle Photograph were copied to create them. Notwithstanding this,
   Defendants’ argument requires a factual determination that is not appropriate at the present stage.
           The MTD cites Rentmeester v. Nike, Inc., 883 F.3d 1111 (9th Cir. 2018) to argue that general
   poses are not copyright protected, and that Plaintiff cannot claim copyright protection to aspects of the
   photographs which necessarily flow from the idea of an athlete leaping over a defender. However,
   critically, in Rentmeester, the pose at issue was recreated by a second photographer, and it was this
   recreation which was later used to create the allegedly infringing silhouette Jumpman logo. In other
   words, the Jumpman logo in Nike was not copied from the plaintiff’s copyrighted photograph. Instead,
   Nike commissioned its own photograph of Jordan and then used that photograph to create the
   Jumpman logo at issue. See id. at 1115-1116 (noting Nike hired its own photographer to produce its
   own photograph and subsequently create the “Jumpman” logo as a black silhouette that tracks the
   outline of the Nike photograph). Thus, in Rentmeester, there was no actual copying of the copyrighted
   photograph. This is critical because independent creation is a complete defense to copyright
   infringement. See Rentmeester, 883 F.3d at 1117 (citing Feist, 499 U.S. at 345-346). In contrast, here,
   the TAC alleges (and, in the case of the Stacks Jewelry, shows in Exhibit 38) direct copying of
   Plaintiff’s photographs. The facts of Nike are therefore entirely distinguishable.
           Furthermore, in Rentmeester, the court found that the various creative choices made by the
   photographer, such as Jordan’s pose, the lighting, camera angle, depth of field, and selection of
   foreground and background elements, were not copied by Nike’s commissioned photograph or the
   Jumpman logo. See id. at 1122 (noting Nike’s photographer did not copy the pose, the setting, the
   angle, the positioning of Jordan in the photograph, or the lighting). With respect to the Jumpman logo,
   the court concluded that because the commissioned photograph was not substantially similar, and the
   Jumpman logo was “merely a solid black silhouette of Jordan’s figure as it appears in the”
   commissioned photograph, the Jumpman logo could not be substantially similar to the plaintiff’s
   photograph. See id. at 1123. That is distinct from the present case, in which the infringing logos and
   the Stacks Jewelry are representations of Jackson from the Second Hurdle Photograph specifically.
           Rentmeester also involved a finding about substantial similarity, which, as noted above, is not
   appropriate in ruling on a 12(b)(6) motion because it is a question of fact for a jury. The dissent in
   Rentmeester called out the impropriety of making such factual determinations at the pleading stage,
   saying “such questions of substantial similarity are inherently factual, and should not have been made


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   at this stage of the game.” See id. at 1125 (Owens, C.J., concurring in part and dissenting in part). The
   dissent in Rentmeester even cites an Eleventh Circuit decision, namely, Leigh, 212 F.3d at 1213, for
   this proposition. In Leigh, the Eleventh Circuit said that “[c]opyright infringement is generally a
   question of fact for the jury to decide,” and found that the district court “erred in holding as a matter of
   law that no reasonable jury could find that” allegedly infringing images “were substantially similar to
   the aspects of [the photographer’s] work protected by copyright.” See Leigh, 212 F.3d at 1213.
           The MTD argues there is no substantial similarity between the claimed offending items and
   the Barnes Photographs because the claimed offending items are different dimensional expressions of
   an athlete leaping under different settings, coloring, and circumstances. However, protected elements
   were copied, as described above. The change in dimensional expression does not preclude a finding
   that the claimed offending items have substantial similarity to protected elements of the Barnes
   Photographs.
            The MTD argues briefly about an implied license. However, the existence of an implied
   license is a question of fact for a jury, as is the scope of an implied license. See TracFone Wireless,
   Inc. v. Clear Choice Connections, Inc., 102 F.Supp.3d 1321, 1325 (S.D. Fla. 2015).
           The MTD cites MidlevelU, Inc. v. ACI Info. Grp., 989 F.3d 1205, 1217 (11th Cir. 2021) and
   Field v. Google, Inc., 412 F. Supp. 2d 1106, 1116 (D. Nev. 2006) to argue that courts have recognized
   an implied license and permission to use copyrighted material in web-based contexts. However, these
   cases turned on facts specific to web-based, and more specifically, search engine-based issues. The
   TAC does not allege that Defendants have been operating a search engine, making the search engine-
   related cases cited by Defendants irrelevant.
           The MTD argues that Defendants’ uses of the Barnes Photographs were transformative and
   fair use. Fair use is an affirmative defense that puts a burden on its proponent in demonstrating that it
   applies, and that presents a mixed question of law and fact. See Cambridge Univ. Press v. Patton, 769
   F.3d 1232, 1259 (11th Cir. 2014) (citing Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 590 (1994)).
   Fair use requires weighing at least four statutory factors, which usually requires making factual
   findings or relying on undisputed or admitted material facts. See Katz v. Chevaldina, 900 F.Supp.2d
   1314, 1315 (S.D. Fla. 2012). As such, determining the merits of the fair use defense is a fact-dependent
   exercise, making the issue inappropriate for disposition at the MTD stage. See Id. at 1315-1316 (fair
   use defenses “are not ripe for determination before the summary judgment stage”).
           Defendants argue that while fair use presents a mixed question of law and fact, “it may be


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   resolved as a matter of law when, such as here, the material facts are not in dispute.” (D.E. 91 at 14.)
   However, it is impossible to know exactly which facts alleged in the TAC are not in dispute when
   Defendants have not yet had to answer the TAC, and thereby admit or deny the allegations contained
   therein. As one example, the factors enumerated in 17 U.S.C. § 107 include the purpose and character
   of the use, including whether such use is of a commercial nature or is for non-profit educational
   purposes. In the MTD, Defendants argue that the “social media posts by Jackson of some of the Barnes
   Photographs7 were made at the time he was still a student-athlete at Louisville. They were not used for
   commercial gain, as a matter of law, as Jackson was prohibited from receiving any income during that
   time.” (D.E. 91 at 15.) However, as alleged in the TAC, Plaintiff contends that each instance of
   Jackson’s infringement of the Barnes Photographs constituted willful infringement of a copyright for
   purposes of commercial advantage or private financial gain. (D.E. 85 at ¶356.) Thus, the TAC makes
   an allegation regarding the commercial nature of “[e]ach instance” of Defendant Lamar Jackson’s
   infringement which Defendants contradict in the MTD. Given that the commercial nature of the
   infringing use is a factor to analyze for considering a fair use defense, this is a material fact that is in
   dispute from the face of the TAC and the MTD. Clearly, the Court cannot make a fair use determination
   at this stage given the dispute of facts material to the factors for establishing fair use.
           Though Plaintiff has no obligation to argue against any of the fair use factors at this stage, it is
   noted that Defendants’ fair use position is extraordinarily weak. Plaintiff will briefly address each of
   the factors under 17 U.S.C. §107, all of which weigh against Defendants’ fair use defense.
           Under the first factor, all of Defendants’ uses of Plaintiff’s works are for commercial purposes,
   namely, either promoting the career of Mr. Jackson, creating a brand identity for Mr. Jackson’s
   commercial exploitation, or creating a piece of jewelry embodying that brand logo for commercial
   sale. Also under the first factor, Defendants’ wholesale appropriation of Plaintiff’s works on social
   media do not transform the original works in any respect beyond unlawfully removing copyright
   ownership information. The conversion of Plaintiff’s photograph into the form of logos and jewelry is
   also not transformative in that the message conveyed by the Defendants’ copies is identical to the
   message conveyed in the original. See, e.g., The Andy Warhol Found. for the Visual Arts, Inc. v.
   Goldsmith, No. 19-2420 (2nd Cir. 2021) (creation of a series of paintings from a photograph not
   “transformative” and did not constitute fair use); Rogers v. Koons, 960 F.2d301, 309-11 (2nd Cir.


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    This constitutes an admission by Defendants that the 2016 social media posts were “of” the
   Barnes Photographs. Defendants should be estopped from asserting otherwise in this litigation.
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   1992) (rejecting fair use defense as applied to a three-dimensional sculpture recreating a photograph).
           Under the second factor, photography is a highly creative medium entitled to protection. See,
   e.g., Belair v. MGA Entm’t, Inc., 831 F.Supp.2d 687, 693 (S.D.N.Y. 2011) (noting a photograph may
   be original in the rendition of a subject, and originality may reside in the photographer’s selection of
   lighting, shade, lens, angle, depth of field, composition, and other choices, such as manipulation of
   color balance, saturation, or contrast, that have an aesthetic effect on the final work). Defendants
   acknowledge that this factor weighs against a finding of fair use. (D.E. 91 at 17.)
           Under the third factor, which is the amount and substantiality of what was taken in relation to
   the copyrighted work as a whole, Defendants used practically all (in the case of the social media posts)
   or the crux (in the logos and jewelry) of Plaintiff’s creative contributions. This factor asks whether the
   copying used more of the copyrighted work than necessary and whether the copying was excessive,
   thereby examining whether the Defendants have “helped themselves overmuch” to the copyright work
   in light of the purpose and character of the use. See Peter Letterese and Assocs., Inc. v. World Inst. of
   Scientology Enters., 533 F.3d 1287, 1314 (11th Cir. 2008) (quoting Campbell v. Acuff-Rose Music, Inc.,
   510 U.S. 569, 587 (1994)). This factor, contrary to Defendants’ arguments, cuts against a finding of
   fair use. As described above, each of the infringing logos and the Stacks Jewelry includes features (e.g.,
   downwardly extending fingers, extending spikes from the left cleat, and extending padding from the
   back) that are observable in the Second Hurdle Photograph only because of the creative choices made
   by Plaintiff in creating the Second Hurdle Photograph, such as his position and the particular angle
   from which the Second Hurdle Photograph was captured, and these elements are not necessary to
   convey an image of a leaping football player. And with respect to Defendant Jackson’s social media
   posts, Defendants make no argument about the extent of copying, nor can Defendants, because the
   social media posts in question reproduced the photographs in their entireties. (D.E. 85-19, 85-20, and
   85-21.) Therefore, this factor also weighs against a finding of fair use.
           Defendants argue the Leap Logo “did not simply replicate the Barnes Photographs,” because
   the Leap Logo is a black silhouette, not a color photograph, does not have a Syracuse defender in it
   who is being hurdled by Jackson, does not have a Louisville wide receiver in it, does not depict a face
   mask on the helmet, does not include fans in the stands, and changes the appearance, mood, lighting,
   setting, expression, color, numbers, and style, as they appear in the photograph. (D.E. 91 at 15.)
   However, the Leap Logo includes numerous protected elements of the Second Hurdle Photograph, as
   noted above, and in any event this requires a factual determination that is inappropriate at this stage.


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           Defendants argue the Stacks Jewelry is three-dimensional, contains the number 8 on the front
   and back of the jersey, and contains many facial and helmet details not seen in the Barnes Photographs.
   However, these details do not transform the purpose of the original work. Moreover, the Stacks Jewelry
   does include numerous protected elements of the Second Hurdle Photograph, as discussed above, and
   in any event this requires a factual determination that is inappropriate at this stage.
           Finally, under the fourth factor, Plaintiff’s livelihood is supported by the licensing and sale of
   his creative output as a photographer. The notion that a celebrity athlete is privileged to exploit a
   photographer’s work without a license because such use will lead to increased exposure for Plaintiff’s
   work is as cynical as it is without legal basis. See e.g., Barcroft Media, Ltd. v. Coed Media Grp., LLC,
   297 F.Supp.3d 339, 355 (S.D.N.Y. 2017) (“[I]f CMG's practice of using celebrity and human interest
   photographs without licensing were to become widespread, it is intuitive that the market for such
   images would diminish correspondingly.”). Defendants’ uses rob Plaintiff of precisely the kind of
   licensing revenue upon which a professional sports photographer relies for his or her livelihood.
   Accordingly, a finding of fair use would be inappropriate here.
           B. RICO Claims
           Defendants’ arguments with respect to Plaintiff’s RICO claims are meritless.
           Defendants cite Colonial Penn Ins. Co. v. Value Rent-A-Car Inc., 814 F.Supp. 1084 (S.D. Fla.
   1992), to argue that the injured party must know or have reason to know that his injury is part of a
   pattern before he can be expected to file a civil RICO cause of action. However, the injured party
   knowing or having reason to know that his injury is part of a pattern was at issue in Colonial Penn
   because it is when the statute of limitations begins to run, not because it is an element of a RICO claim.
   See id. at 1091. Defendants have not raised a statute of limitations argument in the MTD.
           Defendants argue that the TAC fails to allege with factual particularity Defendants’ knowledge
   of any racketeering activity which is indictable as a criminal infringement of a copyright, implying that
   such an allegation is an essential element of a RICO claim. (D.E. 76 at 19.) However, this is not an
   element of a RICO claim, and Colonial Penn does not establish otherwise. In Colonial Penn, the RICO
   claims at issue involved predicate acts of mail fraud and wire fraud. See 814 F.Supp. at 1091. Fraud
   claims have a heightened pleading standard, including in the context of scienter, under Federal Civil
   Rule 9(b). See id. (citing Connecticut Nat. Bank v. Fluor Corp., 808 F.2d 957, 962 (2nd Cir. 1987)
   (noting plaintiff must provide some factual basis for conclusory allegations of intent). In contrast, here,
   Plaintiff’s RICO claims are based on predicate acts of criminal copyright infringement, not fraud.


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   Therefore, the heightened pleading standard from Federal Civil Rule 9(b) relating to fraud or mistake
   does not apply in this case.8
           Defendants argue that “because they made little money from” use of the Leap Logo, and
   because the Jackson Defendants “no longer use” the Leap Logo and “have not used it since receiving
   the” first cease and desist letter, Plaintiff’s RICO claims are fatally flawed. (D.E. 91 at 19.) However,
   as noted above, these allegations in the MTD are beyond the scope of, and contrary to, the facts alleged
   in the TAC. (See D.E. 85 at ¶179, relating to the statement of use, in comparison to the time of receiving
   the first cease desist letter alleged in ¶171.)
           To the extent Defendants argue that Plaintiff has not alleged a pattern of racketeering activity
   that is more than a single predicate act, Defendants are wrong. The TAC alleges a plethora of distinct
   example acts of copyright infringement, in paragraphs 118, 120, 124, 126, 133, 138-141, 149-152,
   157-158, 165, 170, and 180-181, which paragraphs 344 and 387 incorporate into the RICO claims.
   These numerous distinct acts of copyright infringement involve the use of several different forms of
   media, namely, social media posts, logos applied to apparel and other goods, a sculptural work, and
   photographs. Notably, the Eleventh Circuit has rejected the argument that acts which are part of the
   same scheme or transaction cannot qualify as distinct predicate acts. See U.S. v. Watchmaker, 761 F.2d
   1459, 1475 (11th Cir. 1985). Rather, the standard is whether each act constitutes “a separate violation
   of the [state or federal] statute” governing the conduct in question. Id. The TAC alleges, in paragraph
   356, that each of the instances of copyright infringement constituted criminal copyright infringement
   under 17 U.S.C. § 506(a)(1)(a), indictable under 18 U.S.C. § 2319, and the factual allegations in the
   TAC surrounding these events establish the elements of criminal copyright infringement.
           The first prong in establishing a pattern of racketeering activity is the notion of related acts,
   where related acts under RICO means criminal conduct which must have the same or similar purposes,
   results, participants, victims, or methods of commission, or otherwise be interrelated by distinguishing
   characteristics which are not isolated events. See Colonial Penn Ins. Co., 814 F.Supp. at 1093 (citing
   18 U.S.C. § 3575(e)). Here, as alleged in paragraph 357 of the TAC, each of the instances of criminal
   copyright infringement was related by involving the same victim, namely, Plaintiff. Further, as alleged
   in paragraph 358 of the TAC, the instances of criminal copyright infringement were conducted through
   a pattern in that multiple of them involved the same or similar methods of commission, namely,


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    Even if a heightened pleading standard did apply, the TAC would easily satisfy it given the specificity
   and detail of the allegations contained therein and the Exhibits accompanying it.
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   Defendant Jackson posting infringing content on social media accounts. Thus, the TAC alleges a
   pattern of related acts.
           As stated in paragraphs 345-346 of the TAC, a criminal infringement of a copyright, which is
   an act of racketeering activity under 18 U.S.C. § 1961(1), requires a willful infringement of a copyright
   committed for purposes of commercial advantage or private financial gain. 17 U.S.C. § 506(a)(1)(A).
   Willfulness “encompasses reckless disregard of the possibility that one’s actions are infringing a
   copyright.” See Yellow Pages Photos, Inc. v. Zipolocal, LP, 795 F.3d 1255, 1272 (11th Cir. 2015).
           Here, the TAC contains specific allegations establishing willfulness that are quite rare in
   copyright infringement cases. Defendant Jackson is on record on the Dan Patrick Show (prior to
   creating and using his brand logo misappropriating the Second Hurdle Photograph) discussing the debt
   he owes Plaintiff for taking the Second Hurdle Photograph, saying he “owes it to the great
   photographer.” (D.E. 85 at ¶¶122-123.) This shows that Defendant Jackson was aware and appreciative
   of, and recognized the enormous value in, Plaintiff’s Second Hurdle Photograph, before the Leap Logo
   was created and used to sell merchandise, and before the Forever Logo and the Forever Silhouette
   Logo were created and used to promote Defendant Jackson’s charity. Furthermore, Defendant Dupont
   or Defendant Stacks, or an agent thereof, is documented on video creating jewelry based on the Second
   Hurdle Photograph with a cutout of the Second Hurdle Photograph on the workbench, which the TAC
   alleges was directed by Defendant Jackson. (D.E. 85-38; D.E. 85 at ¶157-158.) Rarely is such evidence
   of blatant willfulness available at the pleading stage. Clearly, the TAC includes sufficient allegations
   of facts to support willfulness.
           With respect to a purpose of commercial advantage or private financial gain, the TAC alleges
   that Jackson, Jones, and/or Enterprises offered for sale apparel that displayed the Leap Logo, which
   was copied using Plaintiff’s Second Hurdle Photograph. (D.E. 85 at ¶¶126, 187.) Selling merchandise
   with an infringing logo on it is undeniably for the purpose of private financial gain, and Defendants
   now “concede that the” Leap Logo and the Stacks Jewelry “were used for commercial purposes.” (D.E.
   91 at 15.) The TAC alleges that the promotion of apparel sold through Enterprises provided Jackson,
   the president and an owner of Enterprises, with commercial advantage and financial gain. (D.E. 85 at
   ¶¶352, 26.) Accordingly, the TAC sufficiently alleges that the instances of copyright infringement were
   willful and were for the purposes of commercial advantage or private financial gain.
           Defendants argue that Plaintiff has failed to state with particularity the nature of the predicate
   RICO acts committed by Defendants and how those predicate acts amount to or pose a threat of


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   continued criminal activity. (D.E. 91 at 19.) While the nature of the predicate RICO acts is addressed
   above, the second prong in satisfying a pattern of racketeering activity is the continuity requirement.
   See Colonial Penn Ins. Co., 814 F.Supp. at 1094. Continuity “may be demonstrated in a variety of
   ways” and is centrally a temporal concept that “may be either closed- or open-ended.” H.J. Inc. v.
   Northwestern Bell Tel. Co., 492 U.S. 229, 230 (1989). Continuity may be demonstrated over a closed
   period by providing a series of related predicates extending over a substantial period of time, or
   otherwise it must be shown that the predicates establish a threat of long-term racketeering activity, for
   example because the predicates are part of the regular way of doing business for an ongoing entity or
   a regular means of conducting or participating in an ongoing RICO enterprise. Id. at 230. Thus, a §
   1962(c) claim can be alleged as either an open-ended scheme, where there is a threat of continued
   racketeering activity, or as a closed-ended scheme, where it is not necessary to have a threat of
   continued racketeering activity. Here, Plaintiff has pled each alternative in the TAC with factual
   particularity.
           The TAC alleges that Defendant Jackson’s pattern of racketeering activity is an ongoing
   scheme in that Defendant Jackson continues to attend events for Defendant Forever Dreamers Inc. at
   which infringing merchandise is provided to attendees. (D.E. 85 at ¶361.) The TAC alleges that
   Defendant Forever Dreamers Inc. provides infringing merchandise, obtained from Defendant Lamar
   Jackson Enterprises Incorporated, to attendees of events sponsored by Defendant Forever Dreamers
   Inc. at which Defendant Jackson appears, and which are promoted on the website of Defendant Forever
   Dreamers Inc. (D.E. 85 at ¶151-152, 362.) The TAC alleges that as recently as October 25, 2021, the
   website of Defendant Forever Dreamers Inc. promoted the Forever Silhouette Logo. (D.E. 85 at ¶ 154.)
   Furthermore, the TAC alleges that because Defendant Jackson owns a trademark registration for the
   infringing Leap Logo there is a real threat of repeated racketeering activity by Jackson that exists. (D.E.
   85 at ¶360.) The TAC alleges that Jackson filed United States Trademark Registration Application
   Serial Number 87/796,367 for a mark that was copied using Plaintiff’s Second Hurdle Photograph.
   (D.E. 85 at ¶126; see also D.E. 85-22, 85-23.) As further alleged in paragraph 360 of the TAC, the
   Leap Trademark registration acts as prima facie evidence of Jackson’s ownership of a mark the use of
   which constitutes infringement of Plaintiff’s copyright in the Second Hurdle Photograph. See Iancu v.
   Brunetti, 139 S.Ct. 2294, 2297 (2019) (noting that 15 U.S.C § 1115 provides the owner of a trademark
   registration with benefits such as prima facie evidence of the mark’s validity and constructive notice
   of ownership). Owning this trademark registration poses a real threat of the mark in the trademark


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   registration (i.e., the Leap Logo) being used in commerce because, indeed, a trademark registration
   cannot be procured or maintained without continued use of the mark in commerce. See id. (citing 15
   U.S.C. § 1051(a) to note that a trademark is eligible for registration if it is used in commerce). Thus,
   the TAC sufficiently alleges open-ended continuity.
           Furthermore, open-ended continuity can be sufficiently pled by alleging that the predicate acts
   or offenses are part of an ongoing entity’s regular way of doing business. See H.J. Inc., 492 U.S. at
   230; Dadalus Capital LLC, 625 Fed. Appx. at 975. Here, the TAC alleges that multiple of the instances
   of copyright infringement involved social media posts, which were a regular way of doing business
   for Jackson and Enterprises. (D.E. 85 at ¶¶ 118, 120, 124, 132, and 168.) For this reason as well, the
   TAC sufficiently alleges open-ended continuity.
           In the alternative, the TAC alleges that Jackson’s pattern of racketeering activity is a closed-
   ended scheme that involved related predicate acts of racketeering activity that extended over a
   substantial period of time, namely, over a period of at least about five years, from the infringing social
   media post by Defendant Jackson on September 10, 2016, to the promotion of the Forever Silhouette
   Logo on the website of Defendant Forever Dreamers Inc. on October 25, 2021. (D.E. 85 at ¶¶359,
   364.) The TAC further alleges that during such time, there were numerous instances of criminal
   copyright infringement committed by Defendant Jackson involving Plaintiff’s copyrights. (D.E. 85 at
   ¶364.) The Eleventh Circuit has found a three-year period to be a substantial amount of time for
   continuity purposes, and courts in this Circuit have found two years and three years to each be a
   substantial period of time. See Bank of Am. Nat. Trust & Sav. Asso. v. Touche Ross & Co., 782 F.2d
   966, 971 (11th Cir. 1986); see also San Jacinto Savs. Ass’n v. TDC Corp. of Florida, 707 F.Supp. 1579,
   1581 (M.D. Fla. 1989); Banco de Desarrollo Agropecuario, S.A. v. Gibbs, 640 F. Supp. 1168, 1175
   (S.D. Fla. 1986). Thus, the TAC sufficiently pleads the RICO claims as involving closed-ended
   continuity. Accordingly, Plaintiff has sufficiently pled, with factual particularity, the nature of the
   predicate RICO acts, and has sufficiently pled a pattern of racketeering activity under 18 U.S.C. §
   1962(c).
   III. CONCLUSION
           For the foregoing reasons, Plaintiff respectfully requests that the Court deny Defendants’
   MTD.




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   Dated: January 26, 2022            Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          This is to certify that a copy of the foregoing Opposition was filed electronically this day,

   January 26, 2022, in accordance with the Court’s Electronic Filing Guidelines. Notice of this filing

   will be sent to all parties by operation of the Court’s electronic filing system. Parties may access

   this filing through the Court’s system.



                                                        /s/ Jon A. Jacobson, Esq




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